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                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                   CENTRAL DIVISION
                                       (at Lexington)

  RODNEY C. PRATT,                                )     Civil Action No. 5: 16-355-DCR
                                                  )
          Plaintiff,                              )
                                                  )     Electronically Filed
  V.                                              )
                                                  )
  GAIL L. GIESE, COMMONWEALTH OF                  )
  KENTUCKY, FINANCE AND                           )
  ADMINISTRATION CABINET, OFFICE                  )
  OF THE CONTROLLER, DIVISION OF                  )
  STATE RISK AND INSURANCE                        )
  SERVICES                                        )
                                                  )
         Defendants.                              )

                              JOINT NOTICE OF SETTLEMENT

        The parties, by and through their respective counsel, hereby give notice that they have

 agreed to the terms of a settlement. The parties are in the process of preparing and finalizing a

 Settlement Agreement and will file a Stipulated Dismissal as soon as they have executed the

 Settlement Agreement. The Parties respectfully request that the Court stay all proceedings and

 deadlines in this matter pending the filing of the Stipulated Dismissal.

                                               Respectfully submitted,

                                                /s/ J. Eric Rottinghaus
                                               Philip Taliaferro, III (69700)
                                               J. Eric Rottinghaus (89252)
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                                             COMMONWEALTH OF KENTUCKY, et al.



                                CERTIFICATE OF SERVICE

         I hereby certify that on July 27, 2017, I electronically filed the foregoing Eighth Joint
 Status through the Court’s ECF system, which will send a notice of electronic filing to: Philip
 Taliaferro, III, Esq., J. Eric Rottinghaus, Esq., R. Craig Reinhardt, Esq., Neal J. Manor, Esq.,
 Ernest H. Jones, II, Esq., and Langdon Ryan Worley, Esq.

                                              /s/ J. Eric Rottinghaus




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